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                             UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

                                  (ELECTRONICALLY FILED)

   RUBY HAS, LLC,                                  )
                                                   )
                                      Plaintiff,   )   Civil Action No.: 3:20-CV-000847
                                                   )   Judge BENJAMIN BEATON
   v.                                              )
                                                   )
   EJOOV, INC., ERIC WILLIAMS,                     )
   TIM BROWN, MICHAEL LEWIS,                       )
   And STEPHANIE FLISCHEL                          )
                                                   )
                                   Defendants.     )

                                        AGREED ORDER

         Pursuant to Local Rule 7.1(b), Plaintiff Ruby Has, LLC and Defendants eJOOV, Inc., Eric

  Williams, Tim Brown, Michael Lewis and Stephanie Flischel, (collectively “Defendants”) by and

  through their respective Counsel, have agreed to extend the time for Defendants to respond to

  Plaintiff’s Complaint. Defendants shall file a responsive pleading to Plaintiff’s Complaint on or

  before January 22, 2021.

         WHEREFORE, IT IS HEREBY ORDERED that the time for Defendants eJOOV, Inc.,

  Eric Williams, Tim Brown, Michael Lewis and Stephanie Flischel to respond to Plaintiff’s

  Complaint IS EXTENDED to January 22, 2021.
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  Tendered by:

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